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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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IN RE: OIL SPILL BY THE Docket No. MDL-2179
OTL RIG DEF PWATER HORTZON New Orleans, Louisiana
IN THE GULF OF MEXICO ON Friday, July 19, 2013

APRIL 20, 2010

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BON SECOUR FISHERIES, INC.

Docket No. 12-CV-970
VS. Section "ug"

New Orleans, Louisiana

Friday, July 19, 2013
BP EXPLORATION & PRODUCTION,
INC, ET AL

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TRANSCRIPT OF MOTION PROCHEDINGS
HEARD BEFCRE THE HONORABLE CARL J. BARBIER
UNITED STATES DISTRICT JUDGE

APPEARANCES:

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produced by computer.

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PROCEEDINGS

(FRIDAY, APRIL 5, 2013)

(MOTION PROCEEDINGS}

(OPEN COURT. }

THE COURT: Good morning everyone. Please be seated.
Call this case please, Stephanie.

THE DEPUTY CLERK: MDL 16-2179, in re: Oii1 spill by the
oil rig DEEPWATER HORIZON in the Guif of Mexico on Aprii 20th,
2010; Civil Action 12-970, Bon Secour Fisheries, Inc., et al vw. EP
Exploration and Production, Ine., et al.

THE COURT: All right. This matter is before the Court
this morning at the request of counsel for BP on its motion for an
emergency preliminary injunction to suspend payments from the Court
Supervised Settlement Program pending Special Master Freeh's
investigation and report. The parties to the motion and opposition
please introduce, counsel please introduce yourself at this time.
Who is going to speak, that's what I want to know.

MR. STANLEY: Your Honor, Rick Staniey here for Pat
Juneau and the Settlement Program, along with my partner Jennifer
Thornton. I will be addressing the Court.

THER COURT: Okay.

MR. HERMAN: Good morning, your Honor, Steve Herman for
the class.

MR. CLARK: And, your Honor, John Clark for BP.

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THE COURT: Ail right. Very well.

MR. SCHONEKAS: Judge, Kyle Schonekas and Billy Gibbens
on the attempted intervenor.

THE COURT: You wish to be heard this morning?

MR. SCHONEKAS: T do, Judge.

THE COURT: All right. I teil you, I am not going to
grant your intervention but I will allow you to speak and file your
opposition; but it's going to be filed of record, not under seal,
okay?

MR. SCHCNEKAS: TI did that only because of the
magistrate's earlier culing.

THE COURT: ‘That.actually was not an order. I didn’t

know what you were talking about when you referenced that; and I

‘checked with Judge Shushan this morning, right, Judge Shushan?

MAGISTRATE JUDGE SHUSHAN: Yes, sir.

THE COURT: There is no order?

MAGISTRATE JUDGE SHUSHAN: There is no order.

MR. SCHONEKAS: We got erroneous advice then. We have no
objection.

THE COURT: I didn't know what order you were talking
about because you didn't reference a record document number or
anything, and so I had to call Judge Shushan late last night and
she confirmed this morning that there is no such order. There was

some e-mail exchange ~~ we can talk about this later when you get

up.

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1. MR. SCHONEKAS: That's fine.

THE COURT: But there is no such order, just to clarify.

3 MR. SCHONEKAS: We have no objection to it being filed in

open court.

5 THE COURT: Okay. I wiil allow your -- not going to

6 allow you to intervene in the case, but I am going to allow you to

file your memorandum in opposition; and if you would like to speak
for a few minutes, I will give you a chance to do that.

MR. SCHONEKAS: Thank you, sir.

THE COURT: All right. Very well. Also, there is
another motion to intervene. Is Mr. Cobb here?

MR. COBB: Tam, your Honor.

THR COURT: Same thing for you. Do you wisn to be heard
this morning?

MR. COBB: If your Honor please, I will reserve that
until I hear what everybody else has to say, but probabiy not.

THE COURT: Okay. Did you move to intervene?

MR. COBB: No, sir, I did not.

THE COURT: Okay. All right. Very well. You want your
opposition to be filed?

MR. COBB: I do.

THE COURT: Again, it's not going to be under seal, but I

will allow your opposition to be filed.

MR, COBB: Thank you, your Honor.

25 THE COURT: I guess technically yours isn't per se an

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opposition, yours deals with the pending stay of the Andry Law Firm
related claims, correct?

MR. COBB: That's correct, your Honor.

THE COURT: All right. Just to clarify that.

So this is BP's motion, Mr. Clark.

MR. CLARK: Thank you, your Honor.

So, your Honor, let me start by setting the stage and
talking about what it is that we're requesting. We're really
requesting a remedy that preserves the ability to get future
remedies. Tf the Court doesn't stop, just temporarily and that's
all we're asking for, until the Freeh investigation is completed,
claims payments under the, settlement program, then the outcome
could be that Judge Freeh finds that there's fraud in 20, 100,
maybe more instances especially if he finds that a particular
pelicy or one or more policies was procured through some kind of
improper influence or fraud or self-dealing, such as some of the
allegations that are before you in terms of the Sutton and Reitano
issue.

And so if that were to happen, your Honor, if the money
has been paid out in the interim, then it's not going to be
possible for what is -- in many cases it would not be possible for
BP to get that back.

So what we're asking for the Court, of the Court here is
something fairly modest, we think: Just a temporary pause on the

payment of claims until such time as the Freeh investigation

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completes. That's all wetre asking for. And we think it's a
matter of common sense to ask for it, and it's something that
preserves the ability of the Court to actually give BP a remedy as
opposed to leaving BP with potentially no remedies if Judge Freeh
finds fraud, really to any extent.

Turning from that, that's why we think that this request
is a necessary complement of the Freeh investigation that your
Honor ordered. In the order you ordered a broad investigation to
include not just the Sutton and Reitano issues, but also to look
more broadly at whether there are any other instances of fraud or
improper claims handling. And even broader than that, your Honor,
to look at the control process and the structure of the claims
program and its ability to try to control for these sorts of
problems and for fraud.

And so given that, in order to, again, allow an effective
remedy to be ordered, if Judge Freeh completes all of those tasks
and finds, you know, particular misdeeds or structural problems or
new controls that need to be imposed, that those can then be put in
place and then on an ongoing basis from that point forward the
appropriate claims could be paid and claims that were tainted as
found by Judge Freeh would not be paid. That's what we're
requesting.

T would put it like this, your Honor, if I could. It's
almost in this situation, right, we have the two of the three top

legal officers in this entity, the Court Supervised Settlement

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Program. And there looks to be fairly strong evidence, although
not -- hasn't been established yet in a court of law, that those
two top legal officers engaged in self-dealing and in influencing
claims and --

THE COURT: What's the evidence that you have or that
anyone has that's known to you that either of these folks engaged
in, what did you call it, influencing claims? What's the evidence
on that?

MR. CLARK: In the Welker report, your Honor, which is
one of the exhibits which I think probabiy both sides have
submitted.

THR COURT: I've read that report.

MR. CLARK: It indicates that one of the informants spoke
to Mr. Welker and indicated that there was influence in terms of
the way that claims were being -- I'm sorry, policies were being
written in order to benefit friends.

THE COURT: Iam not talking about policies, I am talking
about claims now. The handling, analyzing, calculation,
computation of claims, do you have any evidence or any reason to
believe there's evidence that either of those people did or even
had the ability to engage in such conduct?

MR. CLARK: In terms of the calculation of claims, your
Honor, what the Welker report reveals, let me just focus on that,
it indicates that there were payments being made and payments being

made on a periodic basis through "Law Firm Y" to —-

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THE COURT: That's not my question... I am well aware of
that evidence and that's a problem, a serious problem, but that's
not my question.

My question is: What evidence do you have, if any, that
support your allegation that either of the two attorneys in any way
did or were even able to somehow improperly influence the
calculation of claims, the way they were valued, the way they were
analyzed?

Because we know there are multiple layers of review in
this program, as I appreciate it. I mean, I am not.over there
every day looking at what they're doing, but I have a general
understanding of the way it works. The claims come in, somebody
goes through the paperwork, makes sure all of the paperwork is.
there, it gets scanned in, if goes to an analyst of some sort, and
then it ultimately goes to an accounting team, it's randomiy
allctted to an accountant. They calculate, they see if -- they
usually have to ask for more documentation, particularly in these
business claims, and then at some point it goes to a different
quality control person.

And beyond all of that, as I understand it, if someone is
awarded a claim, the letter goes out, the determination letter goes
out, you, BP, your client has a right to object, to appeal to an
appeal panel, ultimately to appeal, seek discretionary review by
the Court. And: you get the whole package; in other words, your

team gets a whole package of materials supporting that claim so you

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can certainly, and I'm sure you do, claims of any significance have
it reviewed by your own accountants, economists, whoever, to see if
there's anything untoward in that.

So with that being the case, it's hard for me to fathom
how any single person over there, or two persons over there
could -- I mean, we would have to imagine some grand conspiracy
where there were dozens of people over there engaged to influence a
single claim. It just seems not very likely at all.

So I would like to know what evidence you have.

MR. CLARK: Okay. The first thing I think I would say,
your Honor, there are several points I think you’re making so let
me -—

THE COURT: No, no, respond to my question that I've now
asked three times: What evidence do you have that they engaged
in -- not the getting fees from a law firm, we know about that --
having the ability and, in fact, influencing the valuation or
calculation of claims, what evidence is there of that, if any?

MR. CLARK: Your Honor, the one thing it reveals in that
vein is the ability of Mr. Sutton to get immediate access to claims
information and to press on Postlethwaite, and there's an
indication in the Welker report that he did exactly that, exactly
what will happen --

THE COURT: I am aware of that, that he may have made
phone calls seeking to know the status of claims, seeing what's

holding up a claim, things like that, I am well aware of that.

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That's not what I'm asking you though.

MR. CLARK: It's not a big jump from there, your Honor,
to imagine that he could influence at the very least the
pricritization of claims, he could jump someone in the queue.

THE COURT: T'm talking about the calculation of claims.

MR. CLARK: In terms of the calculation of claims, your
Honor, let me be clear. We have not alleged that there is specific
evidence that Sutton and Reitano did anything to influence the
calculation of the claims.

THE COURT: Thank you. Now go on to your next point.

MR. CLARK: Okay. So the point of all of that is that
that's precisely the purpose of the Freeh investigation is to find
out whether there is something worse than just the kickback scheme
that was occurring, or the ability to make sure that somebody
jumped ahead in line, which would itself be improper. And until
that process is completed and until it's looked at everything that
Sutton and Reitano have done, it's not possible to determine what
the outcome of that is going to be.

So you don't think that we need to establish that
evidence, we have certainly not -- we're only sticking to what we
know, your Honor. At this point we don't know what calculations
were enforced.

The next one I wanted to mention --

THE COURT: In fact, would you agree for the reasons I

said it's highly unlikely, if not impossible, that they could have

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done that?

MR. CLARK: No, your Honor, I wouldn't agree with that.
The reason why I wouldn't agree with that is I think you're focused
only internally on the Court Supervised Settlement Program, you're
not focused on the ability -- on the fact that Sutton and Reitano,
as the evidence that does exist seems to reveal, could reach to the
outside. Is it possible that Judge Freeh could find evidence --

THE COURT: Wait, wait. Reach to the outside?

MR. CLARK: Yeah, perhaps they were in contact --

THE COURT: The payments are calculated by and paid out
of the claims facility, not outside, so I don't even have a clue
what you're talking about.

MR. CLARK: Here is what I mean, your Honor. if there
was a fraudulent scheme, for instance, by people on the outside to
submit fabricated information and they were given advice perhaps,
you know, by someone in the facility.

THE COURT: Do you have any evidence of that?

MR. CLARK: We don't, but that's one of the things that
Judge Freeh will be looking at.

THE COURT: You know, the problem I have here is that you
all have made a lot of accusations, put out a lot of innuendo, and
= want te know what evidence there is to support this. We know
there was a problem over there, we know there was a serious
problem. But I frankly have not seen any evidence that it affected

in any way, or could have affected the thing we're here about

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38:48:00 1 today, and that is the calculation and how these claims are
18:48:03 2 calculated and paid.
18:48:05 3 MR. CLARK: Your Honor, with all due respect, I don't
38:48:08 4 think that is why we're here today. The motion we submitted to you
18:48:11 5 isn't directed at --
18:48:12 6 THE COURT: You want to stop the payments, that's. exactly
w:48:i4 7 why we're here today.
18:48:15 8 MR. CLARK: And we want to stop the payments because the
18:48:16 9 Freeh investigation needs to be completed to determine whether
18:48:19 10 there is fraud in any of the claims and whether there are
9:48:22 11 | structural problems in the controls within the organization.
18:48:25 12 Your Horior, “I think what it seems like your questions are
16:48:27 13 going to is the notion. that this is, the Sutton and Reitano episode
18:48:31 14 is an isclated incident, and I want to suggest to you that that's
18:48:34 15 not true. BP has recently set up a fraud hotline, and in less than
38:48:40 16 24 hours of that fraud hotline we got a very serious and
38:48:44 17 credible --
38:48:44 18 THE COURT: Let me ask you this. That's another issue
18:46:47 19 that we can talk about later, but the fraud hotline -- we already
18:48:50 20 have a fraud hotline, there are two fraud hotlines. You have
38:48:54 21 evidence you want to submit from the fraud hotline?
18:48:57 22 MR. CLARK: We can submit --
38:48:57 23 ‘THE COURT: It's not in what you filed with the Court.
38:48:59 24 MR. CLARK: No, your Honor, it's something that happened
18:49:01 25 only very recently, and so we submitted the information to the

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1 claims facility and to Mr. Welker and to Mr. Juneau.

2 THE COURT: All right, very well. We will see where that

3 leads. Anything else you would like to add?

4 ' MR. CLARK: Yes, your Honor. First of all, actually can
5 I ask for some rebuttal time?

6 THE COURT: Sure, absolutely.

7 MR. CLARK: So what I would like to say about this is,

g again, I was starting to make the analogy to a corporation here.

9 If you have two legai officials, the top two legal officiais out of

11 equivalent of one of the Largest corporations in America

12 essentially if it were a for-profit entity. If those two people

were involved intimately in writing all of the policies about how
14 to interpret the agreement --
15 THE COURT: Well, that's an overstatement in itself.
That's the problem IT have with your arguments here, and what BP has
1? been arguing and suggesting is that there's been a lot of
18 hyperbole, a lot of overstatement and -- I mean, we have a problem,
19 we know we have a problem, we had a problem, we know it's being

20 addressed, but the statement you just made is not factually

21 correct. So I have to say that it's not helpful to give me

22 arguments like that. I want to know what the facts and the

23 evidence are.

24 You're here asking for an injunction under Rule 65. I

25 can't grant an injunction based on suspicion, innuendo, beliefs,

three in. an entity that is a multi-billion dollar entity, it's the

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somebody who called in some information, we don't even know who
they are, until there's some evidence in front of me. So that's
what I want to focus on what is the evidence that's before us that
we know right now.

MR. CLARK: Your Honor -«

THE COURT: Beyond what we already talked about.

MR. CLARK: With all due ‘respect, what E said about the
powers of Sutton and Reitano as chief legal officers inside the
CSSP is net false, it's entirely true, they were the top legal
efficers. I am looking at an e-maii here where Ms. Reitano directs
both class counsel and BP that: "I am in charge, Mr. Juneau has
established me as the person to contact. That person is myself.”
Then there's an e-mail indicating that she is the person to be
contacted on all other matters which include interpretations of the
agreement.

The power to interpret the agreement, your Honor, is an
incredibly powerful power. And the fact that these two
individuals, a husband and wife team, who were hired and placed in
these extremely sensitive positions of trust and then were not
monitored properly -- and their e-mails weren't even reviewed until
after nine days by their own evidence, your Honor. So June 10th
supposedly they began to look at their e-mails, but it took until
June 19th until they actually found the e-mails.

I can tell your Honor that I can search e-mails on a

computer using a readily available free program in a matter of

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1 seconds looking for key words, it's not something that takes nine
2 days. The only reason why the investigation was otherwise being
3 drug out by Mr. Juneau until that time that it teok that leng is
4 because at that point it became clear that BP was going to go to
5 the Court and --

6 THE COURT: I have to say something about that because

7 the facts are that, because, you know, I was in these meetings,

8 don't think you were, with Mr. Holstein and some other folks, I

9 think it was Mr. Fendler and Class Counsel and Mr. Juneau.

10 This matter was first brought to the attention of this
11 Court by Mr. Juneau, not by BP. BP said that this all -- when I

12 |. say this, I am talking about the issues with the two attorneys --

13 actually focused mainly on cne attorney, the husband.
14 And BP said that they had gotten information from some
15 "confidential informant" who claimed to have some documents showing

16 what they alleged, and BP told them, don't give the documents to

1? us. Go to the claims office, go up the chain, go up the flag pole,

18 so to speak, at the claims facility. So BP didn't come to me at

13 that time -- which they had the right and an opportunity to do.

20 They could have come to me two weeks earlier, so this thing would
21 have been two weeks further down the read if you all had done that.

22 Instead of reporting that te the Court when you had that
23 information first, you sent them to Mr. Juneau's office.
24 MR. CLARK: We --

25 THE COURT: Wait a minute. Again, it came as some

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1?
18:53:46 1 third-hand hearsay from some -- through two confidential sources
38:53:48 2 who did not want to reveal their identity, did not provide any
38:53:51 3 documents, made accusations and Mr. Juneau, he. turned it over to
38:53:57 4 Mr. Welker who began to investigate. And, yes, it took a couple of
18:54:02 3 weeks before it got te the Court. Maybe I can fault Mr. Juneau or
18:54:06 6 Mr. Welker on that, but maybe I can: fault BP on that, because you
38:54:09 7 had the ability to bring that to the Court directly, too.
18:54:12 8 So IT don't think it's helpful now to go back and say who
18:54:17. 9 should have done what at that time. JT think we're here, we know
18:54:20 10 what the issues are, and let's go forward.
ye:54:22 11 MR. CLARK: There are a few things there, your Honor.

36:54:24 12 First of all, itt'’s*unfair to say that BP, you know, did the wrong
18:54:28 13 step in going to Mr. Juneau first,
38:54:30 14 THE COURT: Lock, I don't want to argue this. I am

8:54:32 15 making a point that you had the ability and could have come to the

38:54:36 16 Court as soon as you had information that you thought there was
38:54:39 17 something untoward going on at the claims facility. Instead, you
39:54:43 19° referred them cver to Mr. Juneau, and that's fine. And then at
38:54:47 19 some point after the investigation, he came to the Court.

38:54:50 20 I first learned of this from Mr. Juneau, not from you.

je:54:53 21 So that's the only point I am making. So [I don't think it's

98:54:57 22 fair -- I am not trying to fault you or him, I am just pointing out
18:55:00 23 what happened. Those are the facts so let's move on. Let's move
18:55:04 24 forward.

18:55:05 25 MR. CLARK: As another --

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THE COURT: No, let's move forward, okay?

MR. CLARK: All right. So the second point that I would
make about. that, your Honer, is what did they do when they got the
information. It looks like they proceeded in the opposite -- with
the opposite of alacrity. It took a very long time just to do the
searchs of the e-mails.

It reveals, your Honor, that they don't have the right
internal controls in place. First of all, they should have
realtime controls in place that can detect this sort of thing
before it happens, they clearly don't have that. They over-rely o
parchment barriers. You saw three times in the brief they
emphasize that they asked Mr. Sutton and Ms. Reitano to sign
agreements that basically said that they weren't self-dealing.
Well, clearly, at least based on the evidence as it's emerged, it
looks like those parchment barriers didn’t work. They didn't lock
down their documents. We are still sitting here now and there are
no assurances to the Court that their documents have been locked
dewn and are being preserved.

THE COURT: You keep saying things, Mr. Clark, I don't
know if it's through ignorance or you just -- I hope you're not
intentionally trying to misrepresent things because you know the
press is here and all, but that is absolutely not right. The
minute this came to my attention I told them to lock down
everything. They locked these peopie out of the offices, they

locked their computers down, they had no access to anything. So

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it's really not helpful for you to make statements like that that
are not based on fact.

MR. CLARK: Your Honor, I wasn't talking about them being
locked out in terms of not being able to access, what talking about
is there's no document preservation order that was issued by
Mr. Juneau.

THE COURT: It was issued by me to Mr. Juneau and he
knows that those are not to be destroyed and that's being done, so.

MR. CLARK: Was that of issue of record, your Honor?

THE COURT: Do you have anything else?

MR. CLARK: Your Honor, why don't I sit down for now and
then respond. Thank you for giving me. that time.

THE COURT: Okay. Good. Thank you. Sure. Mr. Stanley.

MR. STANLEY: Good morning, your Honor.

THE COURT: Good morning.

MR. STANLEY: There's no doubt that everyone here this
morning agrees that the allegations that are bringing us here are
troubling and disappointing in many ways, but it is our belief and
pesition that the injunctive relief that is being sought here is
not merited because it is unnecessary, it is premature, and it is
facially overbroad.

I'll go through my points quickiy because I know your
Honor's familiar with everything.

We believe it is unnecessary for two primary reasons:

One, hold orders are already in place for certain claims that had

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1 any remote connection with these two persons or these allegations
2 that have been made.
3 And second, there is absolutely no reason to believe that
4 Mr. Juneau and the Settlement Program would not institute and
5 indeed recommend additional held orders if additional circumstances
6 come to light that justify them.
7 So hold orders are already in place that are holding back

8 claims, indeed you have interventions here chalienging some of

3 these hold orders for people who feel that they're wronged by them.

10 But they are in place and there's no reason to believe that

11 additional orders wouldn't be placed in place immediately if there

12 was any factual.-support for that.

13 Second, we believe this is premature, again, for two

14 reasons. There are two investigations going on. There is an

15 internal investigation by Mr. Juneau, and indeed yesterday we

16 submitted a suoplemental report as to the current results of that
17 investigation; and second, there is the external investigation

18 ordered by this Court by Director Freeh. And I particularly take

19 umbrage to the accusation that Mr. Juneau has drug his feet with

20 che internal investigation, that is patently false.

21 THE COURT: Tell us what he or his staff have done since

22 this came to light.

23 1 MR. STANLEY: He and his staff have used every resource

24 available to check external sources in terms of what could have

25 been done, external e-mail, internal e-mail, interviewed every

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single person in the claims administrator's office, checked with
every vendor that is used by the program, tried to track any claim
that had any kind of remote connection to either the law firm
that's involved or to either of these two individuals. We have
submitted at least two reports in detail to the Court and to both
parties with all of the results of our investigation and all of the
backup information. And that investigation is continuing and will
not stop independent of what Mr. Freeh is doing.

So, thus far we have found no other information and no
other evidence that would justify an expansion of a hold order that
this Court has our assurance that we would immediately bring it to
your attention’:if we did, if we were to find out information.

THE COURT: Let me ask you this. Is there ahy evidence
that's been uncovered by your internal investigation, or otherwise
come to light to your knowledge or your client's knowledge, that
the attorney or attorneys involved actually did or had the ability
to influence the calculation or computation of claims?

MR. STANLEY: No, sir. =£ am aware of no such evidence,
I've looked at the investigative reports, I've looked at the backup
information. I have seen nothing to support the idea that they had
any influence over the calculation of claims to any claimant.

THE COURT: And I outlined a few minutes ago my general
understanding, and I'm sure there is a lot more detail that goes
into it that I am not aware of, but my general understanding and

overview of how the claims are processed there, is what I said

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essentially accurate, or would you like to comment on that?

MR. STANLEY: I am going to comment on it. it is
accurate though, Judge, as an overview. In fact, that's what makes
this request se overbroad. The system as it is designed has
excellent internal checks and balances. There are multiple layers
of professional venders working in different locations under
different supervisors that have to look at-each claim. The claims
are calculated for causation in one location and then for amount,
if they satisfy causation, in another.

Once the eligibility notice goes out, all of the backup
documentation and the methodology is submitted to beth parties to
review; so the claimant has access to it, BP has access to it, PSC
has access to.it. It is intended to be an open process.

And I think your Honor's conclusion is correct that in
order to have that kind of impact on the calculation, you would
literally need te have a conspiracy among professional venders from
PriceWaterhouse, Postlethwaite & Netterville, BrownGreer, in
addition to others who are quality control checking all of this
information. And in addition to getting it past the parties at the
end of the day, with a complete factual record provided to them.

We think it's highly unlikely that that occurred. But
nonetheless, we do admit and share BP's concern that even what
happened is troubling, even what happened is -- has got us on our
toes, so to speak. But we have not been able to find any evidence

that your Honor has asked about, that there is any impact on any

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39:02:42 1 particular calculation.
39:02:43 2 Indeed we've gone back and checked some of the
39:02:45 3 calculations on some of the principal actors here, and come back as
39:02:50 4 we've reported to the Court that those calculations were, in fact,
39:02:54 5 accurate, even after being checked cnce these allegations came to
39:02:58 6 light.
39:02:58 7 THE COURT: Am I correct, it's my understanding that, 1f
39:03:01 8 know T directed Mr. Juneau after this came to light to not only put
19:03:07 9 a hold on those, that limited universe of claims that we're talking
j9:03:11 10 about, but to also have his staff, the accountants and so forth go
)9:03:17 11 .| back and have different people re-assess, re-analyze and recompute
19:03:23 12 those claims to make sure that they were done properly, accurately,
19:03:26 13 and without any improper influence. Has that been done, being
39:03:31 14 done?
39:03:31 15 MR. STANLEY: it has been done, I believe that that's
19:03:33 16 covered in the order (SiC) that was submitted yesterday. Not the
39:03:36 17 order, the report that was submitted to you yesterday. But, yes,
39:03:40 18 it has been done.
j9:03:40 19 He did follow your directive, as he also followed your
19:03:43 20 directive to instruct the office to lock down everything in terms
19:03:48 21 of preserving all information so that Director Freeh can look at it
19:63:53 22 and have it at his disposal.
19:03:57 23 So the process that the Court has ordered is working. [It
39:04:02 24 is premature at this point to know whether any further relief may
19:04:06 25 be requested, may be in order. We are working for the Court, so we

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would be the first to bring it to you as soon as we know about it.
But as of now, we're not seeing anything that would justify any
expansion of the orders that the Court has already entered. And
our position is that the investigation. ought to play out and let's
see where we were at the end of the day. The process is working so
there's no reason to issue a broad injunction to alter it. And
indeed an injunction that may even somehow impede or affect the
investigation.

THR COURT: What about the -- counsel for BP raises
concerns about the involvement of these two attorneys and staff
attorneys in the development and promulgation of policies. My
understanding is that since this program went into effect a little
over a year ago, got up and running, there have been. iiterally a
couple hundred or more than 200, I.believe, different policies that
have been developed and issued. What is your understanding cr can
you explain to me and to everyone, what input or ability -- what
actual input or involvement did they have or could have in terms of
those policies, and how were those ctherwise developed and
promulgated?

MR. STANLEY: Yes, your Honor. First and foremost, it is
true that they did have some involvement in, some presence, at
least, in participation in those policies. But the first thing I
need to say is that every policy ultimately that is made is made by
Mr. Juneau, that is his final decision.

But let me back up and unpack it. With respect to all of

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There are also policy disputes where the
where BP's view prevailed.
that there's an allegation that Mr.

influenced things in their favor.

a two-day review with all of the venders
that fell in the third category where it
where BP did, not prevail to see if there
undue influénce and we found none. That
the Court and to the parties yesterday.

THE COURT: My understanding,

neither, I think I read that neither one

PSC that both parties agreed, both parties proposed.

Sutton or Ms.

the policies that have come out in this complicated program, there

are a number of policies that were adopted jointly by BP and the

Those are not

policies that anyone would have had any undue influence over.

two parties did not agree

T can't imagine that they're saying

Reitano

So focussing on the other policies, we went back and did

Lo examine every policy
was not a joint policy and
was any evidence of any

was a report we gave to

I've read a lot of stuff in

while they certainly

am I correct that

the last day or two, and my understanding is that Mr. Sutton
and/or, maybe to a lesser extent, Ms. Reitano,
may have been present in a number of meetings, they were primarily
‘involved in policies dealing with the subsistence program -~

MR. STANLEY: That's correct.

THE COURT: -- and the moratoria issue.

MR, STANLEY: Also correct.

THE COURT: And I also understand,

of those policies have

been officially adopted or promulgated yet by Mr. Juneau?

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MR. STANLBY: Certainly with respect to the moratoria
program; T am less certain about the subsistence program as I stand
here,

THE COURT: Okay. But what was BP's involvement and
ability to be involved in the discussions and development of those
programs, those policies before they were even issued?

MR. STANLEY: As with all of those policies, Judge, both
parties are involved, both parties are engaged in the discussions
with the claims administrator office; and at the end cf the day
when the policy is issued, as you point cut, in some instances the
policies have not been finalized because they're still under
consideration, BP has the ability and has indeed as.you know
appealed to this Court if they feel that the policy is in any way
improper or in any way inconsistent with the agreement, or in any
way the process was improper.

THE COURT: My recollection, someone can correct me if
T'm wrong, but my recollection is of the hundreds of policies that
have been developed and promulgated by the claims facility by the
Claims Administrator, there have only been two that have been
filtered up to me, bubbled up to me. The first dealing with an
issue dealing with nonprofits and how their losses were calculated,
and then the second one would be the BEL, business economic loss
issue, which is presently on appeal.

MR. STANLEY: That's my memory as well, Judge.

THE COURT: Okay.

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MR. STANLEY: So this is an open process, it's a
transparent process, it's not a process where we're going behind
closed doors and issuing policies without the parties' involvement.
The parties are involved every step of the way.

As you're aware, in almost -- in most instances we were
able to reach an agreement with both sides, and those policies are
in place. And in many instances BP is the prevailing party when
the policy was disputed.

But in all instances, they have the cpportunity to
participate, to comment, to review, and to appeal if they found it
to be improper. And on top of that we have gone back and looked at
the process, to see if we can find any evidence of any kind of undue
influence, “if you will, and have found none as cf this date, and
that's what: we have reported to the Court.

THE COURT: All right. Thank you very much. Mr. Herman.

MR. HERMAN: Good morning, your Honor, Steve Herman for
the class.

THE COURT: Good morning.

MR. HERMAN: We agree with Mr. Stanley and we've
submitted a brief that sets forth cur position. I am not sure,
unless the Court has any questions, that we have anything
additional meaningful to add. I am happy to answer any questions.

THE COURT: IF don't think so, unless we want to clarify
on the record -- of course I can ask BP's lawyers, too ~- I'll just

say that one of the things that's concerned me in this case in

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recent weeks, you know, I have complimented counsel throughout this
litigation for acting professionally and civilly towards each
other, and I think it's been very commendable in large part, and
certainly during the trial, you know, IT had no problems whatsoever
and everything was handled as it should be.

But when a lot of misinformation is spread by whoever
it's spread by, but obviously coming from someone involved in the
case, it's troubling. It's hard to correct something once a lot of
information gets spread around, and something as simple as how did
Mr. Juneau get appointed and who appointed him. JI mean, when
you've got the media reporting based on some anonymous sources
apparently.that I picked Mr. Juneau because he was,a "good ole boy,
plaintiffs'.lawyer, friend of mine" somehow, which was incorrect in

at least two scores. We all know he is not a "good ole boy,

‘plaintiffs lawyer." He may be a good ole boy, but he is not a

plaintiffs lawyer, we all know that.

And I didn't pick him. The scenario that unfolded, as I
recall, is that you all were going to initially come to me and
propose three names from which I would select one. Instead, in the
end when it was presented to the Court, the motion to establish the
transition program from the GCCF and set up the new DEEPWATER
HORIZON Court Supervised Settlement Program, counsel for BP, BP and
you all as interim class counsel at the time, or PSC, whichever
role you were occupying at the time, came to me and said we've

agreed, we want you to appoint Pat Juneau as the Claims

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Administrator. And that's what I did, I accepted your
recommendation and appointed him.

So again, it's really disappointing when so many basic,
factual misrepresentations get reported and then somebody has to
try to go around correcting these things that get spread around
with all of the inferences that someone wants to make from these
basic misstatements of fact, you know.

MR. HERMAN: Well, I can confirm for the record and I
have confirmed for the record that what your Honor represents. is
correct that Mr. Juneau was selected and proposed by the parties,
including BP. My impression was that BP very enthusiastically
supported Mr. Juneau and that they.were delighted.with Mr. Juneau,
all the way up until I guess somecne figured out that they
underestimated the value of the settlement and now he's become
their scapegoat, but they seemed to be very happy with him up until
that point. And I believe that they even made those
representations to the Court at the fairness hearing in November of
2012.

THE COURT: Well, what I recall, beyond that, is that no
one -- that's probably an exaggeration, not no one, almost no one
was happy at that point with Mr. Feinberg and the GCCF. And = am
not saying that's my opinion, I am just saying what people were
saying at the time. In fact, I had many motions filed asking me to
basically take over the GCCF from Mr. Feinberg, which I declined to

do. I had motions filed by the Attorneys General of the five gulf

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coast states asking me to take over the program from Mr. Feinberg,
which I refused to do. T had that from you all, I believe, if I am
not mistaken, from the PSC --

MR. HERMAN: Yes, your Honor.

THE COURT: -- asked me to do that. Again, I declined to
do it.

And in the end when Mr. Juneau was proposed to the Court,
it was my clear impression that everyone, all of the parties,
including BP, was happy and wanting to shutdown the GCCF and
transition to this new court supervised program under Mr. Juneau.

MR. HERMAN: Well, I can't speak for BP, but I will say
that during the course of the negotiations never at any point in
time did BE suggest, propose, request that Mr. Feinberg somehow be
moved from the GCCF to become the Claims Administrator of the Court
Supervised Settlement Program, that was never suggested to us,
requested of us, proposed to the Court. So I don't know what was
in BP's mind, but I can confirm that.

And IT think as the Court can imagine on the plaintiffs’
side, there has been an emotional reaction to what we perceive to
have been some things that have been said in the press that are
maybe unfair and inaccurate, but we've tried to do our best to take
the high ground and be as professional as we can be, and we
appreciate the Court's time and consideration.

THE COURT: Ail right. Thank you.

MR. HERMAN: Thank you.

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THE COURT: Wait a minute. I think we may have someone

‘else that may wants to speak, Mr. Clark.

MR. CLARK: Sorry about that, your Honor.

THE COURT: Mr. Schonekas.

MR. SCHONEKAS: .Good morning, your Honor, Kyle Schonekas
on behalf of the Andry Law Firm.

THE COURT: Explain to us, because I have to tell you I
am confused about the different Andry related entities.

MR. SCHONEKAS: I understand, Judge, and that was my
First order of business.

THE COURT: And we've kind of just generically called
them the Andry Law Firm, and I am not fully aware.of the different
entities and how they're related or not related.

MR. SCHONEKAS: Judge, the Andry Law Firm is comprised of
Gibby and Jon Andry.

THE COURT: This is an LLC?

MR. SCHONEKAS: I believe that it is, Judge. I am not
sure whether it's an LLC or a corporation. But it was an entity
that existed prior to the spill, comprised of these two gentlemen.
Jon Andry --

THE COURT: That's a New Orleans law firm, right?

MR. SCHONEKAS: Yes, six, has been for sometime. Jon
Andry wanted to pursue BP claims, Gibby Andry did not want to
pursue BP claims. So Jon Andry formed the Andry Law Group that

eventually morphed into the Andry Lerner firm when Mr. Learner

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joined --

THE COURT: Where is that firm based, Lafayette?

MR. SCHONEKAS: Based here in New Orleans on Baronne
Street.

THE COURT: For some reason I thought it was in
Lafayette.

MR. SCHONEKAS: Jon Andry works toe and from Lafayette and
New Orleans as well.

So it has, the Andry Lerner law firm has 600 and some odd
BP claims. The Andry Law Firm has no BP claims other than its own
pro se BP claim. That's for a business economic loss, BEL claim.

-THE COURT: But Jon Andry has -- is in both of these or
all three of these?

MR. SCHONEKAS: Yes, sir, he is. And he is a 50/50 owner
with Gilbert Andry, or Gibby Andry, in the Andry Law Firm in its BP
claim.

THE COURT: Ail right.

MR. SCHONEKAS: And BP I believe has deliberately blurred
the lines, Judge, so that they can get the stink on everybody's
shoes. And what happened is that the Andry Law Firm filed its
claim like everyone else, and, in fact, was urged to do so by their
CPA. He analyzed the data, he looked at their tax returns, he
looked at their records, and said, yes, you have a BP claim. And
it was submitted like everyone else's.

In fact, Mr. Juneau attests to this. They went back when

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these allegations were made and they reviewed it. The claim was
reviewed by a disinterested accounting firm, Postlethwaite &
Netterville. Ti underwent further review by
PriceWaterhouseCoopers, an eligibility notice was issued confirming

that, in fact, they were due moneys, and then it was appealed by

BP. A three member appeals panel unanimously affirmed the award.

Then allegations were made. And interestingly and
understandably, we were not told about these allegations. And I
think to some extent this benefited us because the claim was put on
hold, we were told nothing, and they went back, Mr. Juneau's
group --

_THE COURT: That, by the way, was at my direction.

MR. SCHONEKAS: And I understand, Judge. But the
significance is that there was a further review done at the
direction of Mr. Juneau, unbeknownst to us, by the PriceWaterhouse
group and Postlethwaite & Netterville, both went through the claim
again and analyzed it and came back and said --

No, then Mr. Juneau did another step, he wasn't satisfied
with that. He had his quality contrel team then go threugh the
claim, and they all came back and said the claim was not
manipulated, the numbers are there, it's all been substantiated.

So where is the impropriety? And, in fact, Judge, your
Honor said it best, which is that they've done this by innuendo, by
rumor, and by circulation of statements. And, in fact, we have not

had a single person take an cath or swear to an affidavit that says

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12 No one has taken an oath, no one has told me or for that
13 matter has shown that my clients did anything to manipulate this
14 particular claim. And that's been confirmed by Mr. Juneau, to his
15 credit, and he didn't rely on resresentation from us.

16 THE COURT: You're distinguishing, again, just to

17 clarify: Andry Law Firm, LLC, the firm that predated the BP oil
18 spill of which the two members are Gibby Andry and Jon Andry.

19 MR. SCHONEKAS: That's correct.

20 THE COURT: You're distinguishing that entity from the
21 other Andry entities, right?

22 MR. SCHONEKAS: That's correct. Because they --

24 you just said about what they did or didn't do, that's the entity

25 or firm you're speaking of, correct?

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1 | that in any way the Andry Law Firm did anything nefarious. In
2 fact, I want to state emphatically that the Andry haw Firm never
3 offered, never paid, never promised anything to anyone in
4 connection with their BP claim.
5. So, you know, I feel that this is kind of Kafkaesque, we
6 don't know who is making it, we don't get to confront the person.
7 In fact, I believe Exhibits 2 and 6 are objectionable as hearsay in
8 BP's submittal, as well as page -—-
g THE COURT: Remind me, what are those exhibits?
10 MR. SCHONEKAS: The Welker report, your Honor, and the
11 Holstein letter, classic hearsay.

23 THE COURT: You're not -- when you say they -- well, what

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SCHONEKAS: That's correct: That's who I've been

nd T will represent to you that it's, in fact, not

e juridical entity, but it is maintained as such and

as such. In fact, that entity does not share in any
ated by the Andry Lerner law group in terms of any
receives from that.

e, you hit the nail on the head. There hasn't been

would justify the suspension of these payments.

another effort by BP, this time they think they have

dam that will allow them to stop these payments from

that's what's happening here. Thank you.
COURT: All right. Thank you, Mr. Schonekas.
. Before you get up. Mr: Cobb, would you like to be

COBB: Just very, very briefly, your Honor, if your
COURT: Sure.

COBB: Good morning, your Honor.

COURT: Good morning.

COBB: Good morning, Judge Shushan. |

IT don't want to get into the merits of what we filed at

r point in time. I rise for one point only, and that

heard counsel for BP use a term "kickback scheme" in

And he did so, I think, in the same sentence or the

that he is referring to my client. As the Court has

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opined and said this morning, there is no evidence of that
whatsoever, number one.

THE COURT: I didn't say that.

MR. COBB: No, the Court has said --

THR COURT: I didn't say that. What I said, to be clear,
is that there is evidence -- and without making a final judgment
because there are: ongoing investigations, ongoing continuing
internal investigations at my direction, at Mr. Juneau's direction
initially and now at my direction, and as an ongoing investigation,
external independent investigation by Mr. Freeh by virtue of my
appointment of him.

MR. COBB: Yes, sir.

THE COURT: And we do know that there is evidence of some
payments, referral fees, whatever they are called, from a law firm.
I don’t know which entity it came from, from a law firm to one or
both of these lawyers.

MR. COBB: Yes, sir.

THE COURT: And that's what's under investigation
primarily, and that's a troubling matter. And I take it very
seriously, and we kind of know what's involved from the internal
investigation -- obviously I don't have Mr. Freeh's report yet, and
if he uncovers something beyond that we will deal with it.

But we know that there was something that occurred that
should not have occurred because it's pretty obvious that if you're

working in the claims facility you can't have any financial

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39:25:22 1 interest in claims being handled by, represented by someone else.
39:25:27 2 And you can't have your own ciaim for that matter.
39:25:29 3 MR. COBB: Correct.
39:25:30 4 THE COURT: So that's what we're dealing with. And I
99:25:33 5 know you raised issues of the way this whole thing was handled, and
39:25:37 6 to the extent that it impacts innocent parties, innocent in the
19:25:44 7 sense of claimants out there who we don't even know who they are,
79:25:52 8 but apparently several hundred, I think 600 or something.
39:25:55 9 MR. COBB: Yes, sir.
39:25:56 10 THE COURT: Claimants represented by Andry or Andry
39:25:59 11 Lerner group whose claims are being held up at this point by my
39:26:63 12 order,. by my direction to Mr. Juneau to hold those claims until we
39:26:08 13 can complete this investigation. And I've told him to do that and
39:26:13 14 I intend to maintain that hold -- and I feel bad about it in a
39:26:19 15 sense to the extent that IT am assuming most of those people are
39:26:22 16 totally innocent, they just submitted claims with their lawyer and
39:26:26 L? they're waiting to be paid.
39:26:29 18 MR. COBB: Yes, sir.
19:26:30 19 THE COURT: Because of that I've asked Mr. Freeh to
19:26:39 20 expedite his investigation, that part of his investigation in terms
39:26:40 21 of what happened and whether there's any evidence beyond what we
19:26:45 22 know now. T have no evidence beyond what we've talked about here
39:26:48 23 this morning, so far, but I want to make sure —-
39:26:52 24 And I’ve also directed Mr. Juneau and his staff to go
39:26:56 25 back and review all of these claims. Again, I am confusing the

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39:27:02 1 Andry firms, but the Andry Law Firm claim itself that Mr. Schonekas

39:27:06 2 talked about and the clients that they represent, to review all of
39:27:11 3 those claims independently, have different people, different
39:27:14 4 accountants review them, double check them, triple check them to

19:27:18 5 make sure they were calculated properly, that there was nothing
19:27:21 6 improper in the way they were handied or calculated or computed.
-39:27:24° 7 So all of that's being done by my direction, and I don't

39:27:28 8 intend for this to be a lengthy hold or anything. in fact, [I
19:27:33 G expect that fairly shortly, hopefully, we will get something from

19:27:37 190 Mr. Freeh on that.

19:27:38 11 Beyond that I've asked Mr. Freeh to make any

19:27:41 12 recommendations or suggestions, you know, any system, anything can
19:27:49 13 be improved, probably, particularly something.as massive as this,
39:27:53 14 |. so E've asked Mr. Freeh to also make, to recommend or suggest to
19:27:57 15 the Court anything that we can do to improve things going forward.

19:28:03 16 I am certainly happy and will consider that and look at that, toc.

yg:28:08 17 But I am not going to hold up those claims for that once
19:28:12 18 we check out everything.
19:28:13 19 MR. COBB: We appreciate that. What I simply wanted to
yo:28:25 20 do for the record was I thought I heard counsel use the word
39:28:18 21 kickback scheme.

“ y9:28:19 22 THE COURT: I didn't hear that word, if he did, I didn't
39:28:21 23 hear it, I don't know. Did you use that word?
9:28:23 24 MR. COBB: Did you use that term, counsel?

19:28:25 25 MR. CLARK: Yes, your Honor.

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19:28:26 L MR. COBB: And that's why I rise.
19:28:29 2 THE COURT: I've heard it before.
19:28:30 3 MR. COBB: I rise simply to say that that is unsupported,
yg:28:35 4 false, scurrilous, scandalous, and I object on behalf of my lawyer
19:28:39 5 client, number one.
19:28:39 6 Number two, I must rise to suggest to the Court on the
19:28:42 7} one hand BP says shut everything down until we get the Freeh

i9:2e:4a 8 report, right. And yet on the other hand they characterize the
39:28:52 9 conduct that the Freeh report is investigating. And they shouldn't

39:28:56 LO do that. They shouldn't be loose with the language that they use

39:28:59 LL to describe Mr. Juneau or anybody else, yet they continue. And I
19:29:04 12 rise’to object to that for the record.

39:29:06 13 That's all T have, Judge.

39:29:07 14 THE COURT: Thank you, Mr: Cobb.

19:29:09 15 All right. Mr. Clark, I'll give you about five minutes.
yo:20:13 16 We need to wrap this up.

19:29:15 17 MR. CLARK: Sure. Thanks, your Honor.

19:29:16 18 THE COURT: Sure.

19:29:17 193 MR. CLARK: First on that point, your Honor, we're just
19:29:20 20 referring to the evidence that's in the Welker report. And, again,
39:29:23 21 you know, as you noted for the record it's not been finally

39:29:27 22 established yet, but that's the evidence that we're reciting.
39:29:30 23 THE COURT: I think the problem is sometimes we're all
19:29:33 24 guilty of using hyperbole. Kickback has -- I know the federal

19:29:39 25 government likes to use that term a lot and I've heard objections

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from lawyers about that. A kickback has a criminal connotation
generally. Referral fees are not necessarily criminal, we know
that. However, what we're talking about here is apparently
referral fees made to a person or persons who should not have been
receiving them. And whether that is -- whether it violates a code
of conduct, violates a lawyer's ethics, whether there's anything
criminal or not, that’s to be determined. But I think that's the
problem he was raising.

But I think we're all sometimes guilty and the parties
across the board here, particularly in recent weeks or months, have
been guilty of using a lot of hyperbole, and we need to all maybe
dial this back a little bit. Go ahead.

MR, CLARK: Your Honor, on that, we think that the Welker
report and the description of the e-maiis really speak for
themselves, so I'll put that off to the side.

THE COURT: That's fine.

MR. CLARK: Let me try to bring us back to what it is our
motion is about and the law that governs that motion. S50 we're
governed, your Honor, by the traditional four-factor test. The
first part of the. test is the likelihood of success on the merits,
and we think here based on the fact --

THE COURT: What are the merits here that you think
you're likely to succeed on?

MR. CLARK: The merits that establish that Mr. Juneau and

the program violated their fiduciary duties, their fiduciary duties

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to make sure that they had adequate controls in place, that they
properly supervised, that they properly managed, and that if they
had done that, we wouldn't be here today. We're not pleased to he
here today, your Honor, we didn't sign up for a deal in which this
kind of corruption would enter the program, so we are not happy.

THE COURT: See, you just used another word that's a
hyperbole, so let's just talk about the facts without trying to use
all of this inflammatory language, okay. Go ahead.

MR. CLARK: Pair enough. However you want to describe
the information, let's stick to the Welker report and not even any
other sources, that information, if. that's borne cut by the Freeh
investigation and, you know, based on the fact that these employees

have been terminated or resigned shows that there were not adequate

controls in place, and that shows negligent supervision and that

shows a viclation of the highest duty of the trust relationship,

the fiduciary duty. It's not, you know, the maintenance of an

honor to the most sensitive punctilio, it is instead a failure, a

failure to watch these employees —-

THE COURT: Who are the beneficiaries of the trust you
were speaking of?

MR. CLARK: There are two sets of beneficiaries, your
Honor: The claimants, but also BP. Because if there's money left
over BP is a residual claimant; and so, therefore, BP ‘is owed.a
fiduciary duty right along with the class members.

THE COURT: Geo ahead.

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MR. CLARK: So, your Honor, we think that we have shown
that there's been a breach of fiduciary duty and negligence in the
supervision. Therefore, we think we've met that part of the test
and that's one of the two most important prongs of the test.

The second most important prong of the test is to
demonstrate irreparable harm. And on that issue we submit that the
record is really undisputed based on the letter that went from
Mr. Herman to Mr. Cantor indicating that the class bélieves that
there is no ability to recover any moneys that are paid out,
whether wrongfully or rightfully by BP if there's later a4
determination by a Court that those moneys were paid out in error.

. And so, therefore, you know, it's.not a question of, you
know, it being premature. By the time, you know, class counsel and
Mr. Juneau would think it's not premature, it would be too late.
lft Mr. Freeh finds evidence of fraud as to particular claims or as
to policies that affect not just one claim but multiple claims, a
broad spread of claims, then it won't be possible at that time to
order a remedy if the moneys have already been paid out, your
Honor. And that establishes then the second most important element
of the test, that there has been irreparable harm.

So there is a showing that there's a likelihood of
success on the breach of the fiduciary duties, which do flow to BP,
and the demonstration of irreparable harm. And those together
really make out a prima facie case to grant a preliminary

injunction. If you lock at the other factors --

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Let's jump -- the next factor is really a balance of
harms. And here in this situation Mr. -- your Honor, we're more
than three years out from the incident and we're not -- we're
talking about the fact that there were emergency processes set in
place to pay claims by the GCCF, claimants who were also in
hardship positions could have gone to the Government's Oil Spill
Liability Trust Fund.

This program has been open for more than a year. We are
not dealing with a situation in which obtaining the money on an
urgent basis is something that the claimants face.

If you weigh those equities against the fact that BP is

facing irreparable harm and moneys that can never been recovered,

we submit to you that that balance tips it in our favor quite

strongly.

In particular because this agreement -- your Honor, just
take a step back. The normal class agreement, right, no one would
even be paid until Fifth Circuit appeals were finalized; and
they're still going on, they're not even fully briefed. So here
people are getting extraordinary benefit by being paid in advance
of that date.

Even beyond that, your Honor, this is a situation in
which very generous RTP's were provided for most forms of claims,
and that provides multiples on top of the baseline recovery; and
that was also one of the onus that was built into the agreement to

account for the time value of money.

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So the brief pause that we're asking for here, your
Honor, it doesn't, you know, it doesn't trench upon the claimants
at all. Their RTP's are still going to fully cover them and more
than compensate them for their losses.

And the last element in the preliminary injunction
calculus is the calculus of what's in the public interest. And we
would submit to your Honor that this evidence, however you want to
characterize it, whether just sticking precisely to the terms or
whether you want to use more general terms about it, this has
placed a black mark on the program, it raises, at least puts a
cloud over, appal over the program.

And until those doubts can be dispelled, which is
precisely why your Honor was correct to put in place Judge Freeh

and accept that we applaud and that no party opposed, that process,

‘that Freeh precess is designed to clear the cloud over the

facility. And, therefore, it's in the public interest to guarantee
that this court supervised settlement process that this Court
supervises, by its very name, that the integrity of that program be
protected.

And it's for those reasons, your Honor, that we think
that this preliminary injunction that we're requesting has to be
entered under the legal factors.

Let me turn a little bit to the factual issues though.

THE COURT: You need to wrap it up, you have about

30 seconds.

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MR. CLARK: Okay. Then let me just hit two very quick
points. One is Mr. Stanley represented that there were 230
policies that were reviewed over a two-day period. If you do the
math on that, your Honor, assuming that they took no breaks, they
worked straight through, it comes cut that they spent --

THE COURT: Most of those policies you all agreed to, you
had input in every one, and you reviewed yourself, so T think they
focused primarily on a much smaller universe of the ones that you
had objected to and maybe, again, they are going the other way,
that's my understanding with that.

MR. CLARK: The only thing they say in their report, your
Honor, is that they had discussions about these policies. There's
no indication that they even looked at the. documentary record of
Sutton and Reitano in terms of what. they said or wrote about those
policies, what they advised on them. And without doing that, it
seems to me it's very cursory for them to try in a two-day quick
review to say that they could conclude that none of those policies
have been tainted.

That's why the Freeh investigation can't be prejudged.
It's not going to spend just four minutes on each of those
policies, it's going to look at all of the documents, it's going to
interview people, and it's going to make a final determination that
is credible, not sort of just a quick pass based on a couple of
days of work inside the program.

THE COURT: Let me ask you one thing, I need to move on

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19:38:00 1 because we're beyond the time I allotted for this. But do you
19:38:08 2 acknowledge that BP together with class counsel proposed Mr. Juneau
19:38:14 3 to the Court?
19:38:16 4 MR. CLARK: Mr. -- Judge --
19:38:18 5 THE COURT: That's a simple question, yes or no?
19:38:20 6 MR. CLARK: Your Honor, personally I am not’ aware of the
19:38:22 7 facts.
19:38:23 & THE COURT: So you don't even want to concede that here
19:38:26 9 today? Let me ask Mr. Holstein then or -- let me ask Mr. Godfrey
19:36:31 10 who is here. Mr. Godfrey was intimately involved in the
19:38:35 11 settlement.
19:38:37 12 . MR. GODFREY: Yes.
19:38:37 13. THE COURT: JI would like you to. confirm on the record in

9:38:38 14 open court what the Court said, that the parties to this settlement

39:38:42 15 jointly proposed Mr. Juneau to act as Claims Administrator.
yorae:46 16 MR. GODFREY: That is correct, your Honor.

19:38:49 17 THE COURT: Okay. Thank you. Thank you, Mr. Clark.
39:38:50 18 MR. CLARK: Thank you, your Honor,

19:38:53 19 THE COURT: This matter is before the Court on BP's
. 19:38:55 20 motion for emergency preliminary injunction to suspend payments
19:38:58 21 from the court's supervised settlement program pending Special
19:38:02 22 Master Freeh'’s investigation report. That is record

19:39:10 23 Decument 10761.
-39:39:10 24 Of course under Rule 65 a request for preliminary

19:39:14 25 injunction must meet several criteria, the primary ones being the

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j9:39:28 1 mover must be likely to succeed on the merits and must show
19:39:31 2 irreparable harm or injury. There's plenty of case law that
19:39:38 3 granting of a preliminary injunction is an extraordinary remedy
19:39:41 4 which is only to be granted in the case of a clear. showing based on
19:39:47 5 clear evidence to support it.
19:39:50 6 The Court has considered BP's motion, which essentially
39:39:54 7 asks this Court to enjoin the DEEPWATER HORIZON Court Supervised
39:40:01 8 Settlement Program from paying any further claims to anyone pending
19:40:06 9 receipt of the investigative report from Louis Freeh. For. the
39:40:08 10 following reasons the Court denies this motion.
19:40:12 11 , BP has alleged that it is necessary to temporarily stop
19:40:16 12 payments of claims because it suspects that there may have been
19:40:19 13 fraudulent activity involved in the handling, processing, or
39:40:25 14 calculation cf claims. And that it will be irreparably harmed if
19:40:31 15 plaintiffs continue to:'be paid during the investigation.
39:40:33 16 BP has made a number of allegations concerning alleged
yo:40:36 17 misconduct within the CSSP, the Court Supervised Settlement
is:40:40 18 Program. At the same time BP has recently engaged in a massive
39:40:45 19 public media campaign in connection with its appeal of the Court's
19:40:48 20 previous order s which affirm the Claims Administrator's policy
99:40:53 214 statement pertaining to the handling of business economic loss or
19:40:56 22 BEL claims in accordance with the Economic Settlement Agreement.
19:41:00 23 That appeal, of course, is presently pending before the Fifth
39:41:03 24 Circuit and will be decided by that Court in due course.
19:41:08 25 Unfortunately it seems to the Court that there has been a

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1 great deal of misinformation widely reported that has contributed

2 to creating confusion by conflating two entirely separate issues.
The Court takes this opportunity to put things in some perspective

4 and clarify certain matters.

5 The first issue is as follows: On June 19 it was

6 brought to the Court's attention by the Claims Administrator

13 was led by David Welker, who happens to.be the recently retired

14 head of the local FBI office. and who is in-house in Mr. Juneau's

15 office at the claims facility heading up their anti-fraud unit.

16 As a result of information learned during that

17 investigation, the staff attorney resigned and subsequently his

18 wite, also a staff attorney, had her employment contract

19 terminated.

20 At the Court's direction Mr. Juneau has undertaken and
the claims facility has undertaken the following additional steps:

22 All claims by the involved law firm or its clients were placed on

23 hold and are being re~analyzed and reviewed to determine whether

24 the claims were properly handled. In addition, the claims program

25 has gone back and reviewed its existing policies to determine

7 Patrick Juneau that an anonymous informant had made allegations
8 involving a certain staff attorney who was allegedly receiving
referral fees from a particular law firm that had claims within the
10 CSSP. An investigation was begun, the attorney in question was
1i placed on administrative leave, and a hold was placed on all claims
12 | represented by the involved law firm. An internal investigation

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19:42:49 1 whether the two attorneys might have had any, exerted any imeroper
39:42:55 2 influence in the creation of such policies, and most importantly,
19:42:58 3 whether the policies are correct and accurate.
19:43:01 4 Although this internal investigation is still ongoing,
19:43:06 5 the Court has received an interim report from the Claims
19:43:10 «6 Administrator, which is in the record, and toe date they have
39:43:14 7 uncovered no evidence that shows any misconduct or involvement of
9:43:17 8 anyone other than the two attorneys in question who have now either
19:43:27 9 resigned or been terminated.
19:43:30 10 The known facts appear as follows: The two staff
19:43:33 11 attorneys had previously represented claimants before their
jo:a3:40 12 f. employment by the settlement program, that upon becoming employed
99:43:43 13 |. the attorneys referred, withdrew and referred their cases to a
99:43:47 14 | certain law firm which in turn later paid referral fees to them
19:43:51 15 during the time chey were employed with the program.
39:43:55 16 There 1s some evidence that one of the attorneys may have
9:43:59 LY at time made efforts to inguire as to the status of certain claims
j9:44:03 18 and/or to expedite certain claims.
19:44:07 19 However, this is most important I believe, the internal
19:44:11 20 investigation has not found any evidence that either of the two
19:44:16 21 played any part in the actual processing of claims or that they
39:44:20 22 improperly. influenced the computation of any claims. In fact, as
39:44:24 23 the Court has noted, these claims are analyzed and computed by
39:44:29 24 multiple layers of review and quality control within the program by
19:44:33 25 different analysts and accountants. And as the Court understands

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1 the process, it would be highly unlikely, if not impossible, that
2 any single person would be able to falsely inflate or corrupt the
3 processing of the claims at the Settlement Program.
4 At the Court's request, Mr. Juneau's office has also
5 performed an internal review of its policies which does not reveal
6 that any improper influence by either of the two attorneys.
7 Obviously the attorneys were involved by sitting. in on some
8 meetings, but ultimately these were Mr. Juneau's policies, not the
9 policies of anyone else. And, in fact, there was plenty of
10 opportunity for the parties, including BP, and its lawyers, to
i1 participate in the development of these policies, review the
12 | policies, and object to any policies that it did not think was
13 ‘} proper. And as I mentioned, out of over 200 policies that I
14 understand have been developed and promulgated through this
15 process, in only two instances did BP bring the matter to the
16 Court's attention for review and decision.
17 Nonetheless, despite the lack of evidence of any improper
18 influence to date on the actual calculation of claims, the Court
19 takes what has cccurred very seriously. And in order to assure the
20 parties and the public of the integrity of the Court Supervised
21 Settlement Program, the Court has taken additional steps, including
22 appointing Mr. Louis Freeh and his group to perform a completely
23 independent external review and investigation into this matter.
24 For those who are not acquainted with Mr. Freeh, he
25 happens to be a former federal judge, the former director of the

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1 Federal Bureau of Investigation, and presently heads a private firm
2 which has extensive experience in performing such investigations.
3 The Court has tasked Mr. Freeh with investigating the circumstances
4 leading up to the resignation and termination of the staff
5 attorneys, and whether there were any other persons or firms
6 invelved within or without the settlement program.
7 In addition, the Court has asked Mr. Freeh to look at the
8 program's policies and procedures and make any recommendations or
9 suggestions to the Court for necessary revisions or improvements.

16 That work is presently ongoing.

11 BP has not produced any evidence that would warrant the
12 | Court taking the drastic step of shutting dewn the entire claims
13 | payment program. The fact that the Court has appointed Mr. Freeh
14 } to perform an independent investigation does not lead the Court to

15 prejudge what that investigation will find. However, at this point

16 there is simply no evidence that the mass of claims being handled
Li. by the settlement program are not being properly evaluated and

18 paid.

19 There are thousands of claimants with pending claims,

20 many of whom have been waiting for sometime to have their claims

21-| processed. It would be unfair to those claimants to stop all claim
22 payments based on BP's unsubstantiated suspicions or allegations of
23 some type of widespread misconduct.

24 What has occurred, unfortunately, is that two separate

25 issues or matters have been conflated, intentionally or

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unintentionally, largely by virtue of the media campaign that BP
has waged in recent weeks. The issue of whether the Claims
Administrator and this Court have correctly interpreted the
Business Fconomic Loss provisions in the Settlement Agreement is
purely a legal issue which is currently the subject of an appeal
pending in the Fifth Circuit. The BEL issue is not related to the
Circumstances that led to the resignation and termination of the
two staff attorneys, as I've just outlined.

Unfortunately, because of the temporal overlap, these two
matters have been confused in some reports and commentary. They
are entirely separate.

To put things in further context, the Court points out

“the following brief history of the court settlement program. The

Phase I trial was originally scheduled to begin in late
February 2012. Under the oversight of Magistrate Judge Shushan and
the at Court's direction, counsel for BP and the PSC engaged in
extensive settlement negotiations for over a year, meeting in
person for at Jeast 145 different sessions, not including numerous
exchanges by e-mail and telephone. Shortly before the scheduled
trial, Judge Shushan and the parties reported to the Court that
they were very close to an agreement and asked for an additional
week To continue their negotiations. The trial was continved for
one week until March 5, 2012.

On the eve of that trial, the parties announced an

agreement in principle and requested that the Court recess the

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trial in order to allow them time to put the settlement into a
final written agreement.. That agreement, consisting of over 1,000
pages, was ultimately submitted to the Court. As part of that
agreement, counsel for BP and PSC submitted to the Court a joint
motion on March 8, 2012, along with .a proposed order to establish a
transition process from the Gulf Coast Claims Facility, also known
as the GCCF, then operating under Mr. Feinberg, to a new Court
Supervised Claims Program.

A part of that same jointly proposed motion and order
asked the Court to appoint Patrick Juneau as the Claims
Administrator of both the transition process and the proposed Court
Supervised Claims Program.

The Court notes that, in addition, counsel for BP and the
PSC or Class Counsel also asked the Court to appoint some of the
same venders that the GCCF had been using, including BrownGreer,
Garden City, and PriceWaterhouse.

As part of that proposed order from the joint order by
the parties, joint motion and order by the parties, the GCCF
program was terminated effective immediately and the transition
program was begun. That order was accepted and signed by the Court
on March 8, 2012.

Subsequentiy the parties filed a written Economic
Settlement Agreement with the Court and BP filed a formal motion
asking the Court to preliminarily approve the Settlement Agreement

conditioned upon preliminary certification of the Economic Damages

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Class. The Court granted this preliminary approval and class
certification on May 2nd, 2012. Again, counsel for BP and the PSC
jointly proposed that Mr. Juneau continue as Claims Administrator
for the Court Supervised Settlement Program which officially began
its operation on June 4, 2012, following termination of the
transition process.

A final fairness hearing was conducted on November 8,
2012, at which time counsel for BP and interim Class Counsel
advocated for final approval of the Settlement Agreement. During
that hearing, which lasted an entire day, counsel for BP gave high
praise to the work being done by Mr. Juneau and other venders in
connection with the Court Supervised,Settlement Program, as did
Class Counsel.

The Court granted final certification of the class and
final approval of the settlement in written reasons on
December 21st, 2012. At no time during the fairness hearing or
prior to final approval did BP voice any objections or concerns
about either the Settlement Agreement or the manner in which the
terms of the settlement were being implemented by the Court
Supervised Settlement Program since its beginning in June of 2012.

T am not going to get into the merits of the BEL issue
which is pending before the Fifth Circuit, except to nete that it’
only fairly recently that BP began to voice concerns about how the
‘Claims Administrator was interpreting provisions of the Settlement

Agreement as they pertain to those BEL claims. And of course the

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19:53:13 1 agreement provides a mechanism for the Claims Administrator and the
19:53:15 2 parties to attempt to amicably resolve such disagreements over
j9:53:21 3 interpretation of the Settlement Agreement without involvement of
19:53:24 4 the Court. In this instance, the parties were unable te resolve
19:53:28 5 their differences and the matter was ultimately submitted first
19:53:33 6 informally and then formally to the Court for resolution.
39:53:36 7 After much back and forth, briefing, voluminous
39:53:40 8 submissions by the parties and finally oral argument, the Court
19:53:44 9 ultimately agreed with the Claims Administrator's policy statement

79:53:51 10 for BEL claims. BP then sought to have this Court stay its order,
39:53:51 Li or to enjoin the Claims Administrator from following the Court's
39:53:54 12 order, both of which this Court denied. BP then appealed from the
39:53:58 13 Court's March 5th, 2013, order and sought a stay of this Court's
39:54:03 14 order from the Court of Appeal, which was denied by that Court.

39:54:08 15 That appeal by BP is still pending in the Fifth Circuit.

19:54:14 16 T find it necessary to clear up some additional

39:54:18 17 misinformation that has been widely reported. And hopefully we've
19:54:22 18 cleared up a few basic facts. First, this Court did not select
39:54:26 19 Mr. Juneau to act as Claims Administrator, rather counsel for BP

39:54:30 20 and Class Counsel jointly proposed him to the Court. The Court did

19:54:36 2] accept that recommendation and made the appointment.

39:54:38 22 It should be noted that while this Court did not select
19:54:41 23 Mr. Juneau, I was well aware of his qualifications, experience, and
39:54:45 24 reputation as a well-known, well-regarded attorney who had

19:54:49 25 previously served as a mediator, special master, or claims

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administrator in a large number of cases involving settlements of
various complex litigation over the past 30 or 40 years, prebably
more than 40 years, not only in this state but across the United
States. For just a few examples, Mr. Juneau has been appointed by
Judge Eldon Fallon of this Court as a special master in connection
with the massive Vioxx MDL, by Judge James Selna in California in
connection with the Toyota Sudden Acceleration MDL, and also hy
Judge Donovan Frank in the Guidant Medical Device MDL in Minnesota.

Secondly, although it's not really relevant, but Pat
Juneau is certainly not a "good ole boy, plaintiffs attorney” as
some have suggested. Mr. Juneau is well-known in Louisiana as a
highly competent and prominent civil defense attorney having
previously served, in fact, as president of the Louisiana
Association of Defense Counsel. For the uninitiated who may he
listening, that means he and his law firm represent corporations
and insurance companies who are typically defendants in civil
lawsuits.

Beyond being familiar with Mr. Juneau's qualifications
and experience, this Court has had an opportunity, of course, to
observe Mr. Juneau's work and commitment as a court appointed
claims administrator for the DERPWATER HORIZON's Court Supervised
Settlement Program. From this perspective, Mr. Juneau's
performance has been commendable, especially considering the
monumental assignment and task which he was given.

I have to say this, that I find the recent attacks on

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Mr. Juneau's character are highly offensive and inappropriate. And
I might not have said anything about this except I figured. that
this was going beyond the line now when I read a report this
morning that BP's chief executive was on some business TV show last
night and accused Mr. Juneau of, these are his words,
"highjacking," he accused Mr. Juneau of highjacking the settlement
program. Those are especially cffensive and inappropriate words
and language coming from of all things the CEO of a party to this
Settlement Agreement, a party who not only proposed Mr. Juneau for
this appointment,. but gave great praise to his dedication and work
up through and including the final fairness hearing and final
approval of the Settlement Agreement.

Of course any party has “a perfect right to disagree with
any decision or particular decision by the Claims Administrator, or
for that matter, a particular a ruling or order of this Court. BP
has voiced its disagreement with this Court's March 5th, 2013,
erder on the BEL issue and has appealed from that order. But
personal attacks, hyperbole, and use of such language in my opinion
crosses the line and these unfair, inappropriate, personal attacks
should stop.

The Court reminds the parties that this Court retains
continuing and exclusive supervisory jurisdiction over the parties,
the economic class members, the Court Supervised Settiement Program
and the Settlement Agreement itself. In conjunction with the

previously approved class action settlement, this Court has

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authority to exercise control over matters that affect the class
members.

The Court has both the inherent authority and
responsibility. under Rule 23 to supervise and control any
communications with class members, especiaily those who are
unrepresented by their own counsel. In 'this case we have thousands

of, maybe tens of thousands of pro se claimants who are
unrepresented but who have claims or have made or will make claims
in this Settlement Program, and one of my primary responsibilities
in supervising this Settlement Agreement and the class settlement
is to protect the rights of and interests of those class members,
in particular the unrepresented class members.

T make these points in order to make a clear record of
what has transpired here soa that there can be no misimpression of
what has happened. The Court takes very - seriously its role in this
massive multidistrict litigation and its supervisory role over the
Court Supervised Settlement Program.

I will also continue to try this case in the courtroom
and not in the press, and to decide the case based on the evidence
and the law and not on anything else. I certainly have no
intention of letting any kind of media frenzy instigated by someone
who disagrees with one of my rulings to cause me to shutdown the
entirety of the claims processing of the class settlement without
some substantial evidence of a systemic or widespread problem

within the Court Supervised Settlement Program.

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14 | best of my ability and understanding, from the record of the

15 proceedings in the above-entitled and numbered matter.

1S Karen A. Ibos, CCR, RPR, CRR, RMR

20 Official Court Reporter

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1 BP has failed to make such a showing, and accordingly, it
2 is ordered that BP's motion for preliminary injunction is denied.
3 The Court is in recess. Have a good day.
4 THE DEPUTY CLERK: All rise.
5 (WHEREUPON, THE PROCEEDINGS WERE CONCLUDED.)
6
7 a” ok k k k *
8
9 REPORTER'S CERTIFICATE
10
11 I, Karen A. ibos, CCR, Official Court Reperter, United
12 States District Court, Eastern District of Louisiana, do hereby
“13 certify that the foregoing is a true and correct transcript, to the

